        Case: 19-2210    Document: 43     Page: 1      Filed: 08/25/2021




                 No. 19-2210, 19-2223, 19-2276, 19-2318


        In the United States Court of Appeals
                for the Federal Circuit

                        DRONE-CONTROL, LLC,
                                          Appellant,
                                     v.
                   SZ DJI TECHNOLOGY CO., LTD.,
                                          Appellee.


Appeals from the United States Patent and Trademark Office, Patent Trial and
Appeal Board in Nos. IPR2018-00205, IPR2018-00206, IPR2018-00207, and
                              IPR2018-00208

       RESPONSE TO THIS COURT’S ORDER RE: ARTHREX


                                      George T. Lyons, III
                                      McDonnell Boehnen
                                      Hulbert & Berghoff LLP
                                      300 South Wacker Drive, Suite 3100
                                      Chicago, Illinois 60606
                                      (312) 913-0001

                                      Timothy Devlin
                                      Devlin Law Firm LLC
                                      1526 Gilpin Avenue
                                      Wilmington DE, 19806
                                      (302) 449-9010

                                      Attorney for Appellant
                                      Drone-Control, LLC
           Case: 19-2210     Document: 43     Page: 2   Filed: 08/25/2021




          RESPONSE TO THIS COURT’S ORDER RE: ARTHREX

      Appellant Drone-Control, LLC (“Drone-Control”) submits this response to

this Court’s Order of August 11, 2021 (“Order”) pursuant to the Supreme Court’s

decision in Arthrex, Inc. v. Smith & Nephew, Inc., 594 U.S. ____, 141 S. Ct. 1970

(2021).

      Drone-Control hereby elects option (2)(ii) of the Order and waives its right

to seek Director rehearing of the final written decision. ECF No. 40, at 2.



August 25, 2021                           /s/ Timothy Devlin
                                          George T. Lyons, III
                                          McDonnell Boehnen
                                          Hulbert & Berghoff LLP
                                          300 South Wacker Drive, Suite 3100
                                          Chicago, Illinois 60606
                                          (312) 913-0001

                                          Timothy Devlin
                                          Devlin Law Firm LLC
                                          1526 Gilpin Avenue
                                          Wilmington DE, 19806
                                          (302) 449-9010

                                          Attorney for Appellant
                                          Drone-Control, LLC




                                         1
          Case: 19-2210    Document: 43     Page: 3   Filed: 08/25/2021




                       CERTIFICATE OF INTEREST

Counsel for Appellant DRONE-CONTROL, LLC certifies the following:

                            2. Name of Real Party
                                                      3. Parent corporations
                            in interest (Please only
                                                         and publicly held
  1. Full Name of Party     include any real party
                                                       companies that own
   Represented by me            in interest NOT
                                                     10% or more of stock in
                           identified in Question 3)
                                                             the party
                             represented by me is:
  DRONE-CONTROL,
                                     None                        None
       LLC

4. The names of all law firms and the partners or associates that appeared for
the party or amicus now represented by me in the trial court or agency or are
expected to appear in this court (and who have not or will not enter an
appearance in this case) are:

McDonnell Boehnen Hulbert & Berghoff: Grantland G. Drutchas, Matthew J.
Sampson, Marcus J. Thymian, George T. Lyons III.

Toler Law Group, PC: M. Vanessah Pace.

Devlin Law Firm LLC: Timothy Devlin

5. The title and number of any case known to counsel to be pending in this or
any other court or agency that will directly affect or be directly affected by
this court’s decision in the pending appeal. See Fed. Cir. R. 47. 4(a)(5) and
47.5(b).

IPR2018-00205; IPR2018-00206; IPR2018-00207; IPR2018-00208.

6. Any information required under Fed. R. App. P. 26.1(b) (organizational
victims in criminal cases) and 26.1(c) (bankruptcy case debtors and trustees).
Fed. Cir. R. 47.4(a)(6).

N/A




                                       2
         Case: 19-2210   Document: 43   Page: 4   Filed: 08/25/2021




August 25, 2021                     /s/ Timothy Devlin
                                    George T. Lyons, III
                                    McDonnell Boehnen
                                    Hulbert & Berghoff LLP
                                    300 South Wacker Drive, Suite 3100
                                    Chicago, Illinois 60606
                                    (312) 913-0001

                                    Timothy Devlin
                                    Devlin Law Firm LLC
                                    1526 Gilpin Avenue
                                    Wilmington DE, 19806
                                    (302) 449-9010

                                    Attorney for Appellant
                                    Drone-Control, LLC




                                    3
             Case: 19-2210     Document: 43    Page: 5    Filed: 08/25/2021




                           CERTIFICATE OF SERVICE

         The undersigned hereby certifies that on this 25th day of August, 2021, I

caused the foregoing to be electronically filed with the Clerk of the Court for the

United States Court of Appeals for the Federal Circuity by using the appellate

CM/ECF system, which will send notice of such filing to all registered CM/ECF

users.

 August 25, 2021                            /s/ Timothy Devlin
                                            George T. Lyons, III
                                            McDonnell Boehnen
                                            Hulbert & Berghoff LLP
                                            300 South Wacker Drive, Suite 3100
                                            Chicago, Illinois 60606
                                            (312) 913-0001

                                            Timothy Devlin
                                            Devlin Law Firm LLC
                                            1526 Gilpin Avenue
                                            Wilmington DE, 19806
                                            (302) 449-9010

                                            Attorney for Appellant
                                            Drone-Control, LLC




                                           4
